               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:16-CR-00052-MR-DLH

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
         vs.                                    )
                                                               ORDER
                                                )
ALFONSO VILELA RAMIREZ,                         )
                                                )
                     Defendant.                 )
                                                )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 97].

     For the reasons stated in the Government’s motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 97] is GRANTED, and the Bill of Indictment filed in the above-

captioned case is hereby DISMISSED WITHOUT PREJUDICE.

     The Clerk is directed to provide copies of this Order to counsel for the

Government, counsel for the Defendant, and the U.S. Probation Office.

     IT IS SO ORDERED.
                                    Signed: October 24, 2016




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